                    Case 1:23-cv-02938-CKK Document 5
                                                    7 Filed 10/04/23
                                                            10/31/23 Page 5
                                                                          1 of 8
                                                                               3

                                                                                                           FOIA SummRQs
                                                                                                           1/1



                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLUMBIA


               Daniel J. Bernstein
                                                       )
                        Plaintiff                      )
                                                       )
               v.                                      )              Civil Action No.   23-cv-02938
National Institute of Standards and Technology, et     )
                                                       )
                        Defendant                      )



                                         SUMMONS IN A CIVIL ACTION

To:    (Defendant’s name and address)
                                        U.S. Attorney General
                                        950 Pennsylvania Avenue, NW
                                        Washington, DC 20530




       A lawsuit has been filed against you.

        Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                      Matthew V. Topic
                      Loevy & Loevy
                      311 N. Aberdeen St., 3rd Fl.
                      Chicago, IL 60607




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                              ANGELA D. CAESAR, CLERK OF COURT



Date: 10/4/2023                                                         /s/ Simone Logan
                                                                      Signature of Clerk or Deputy Clerk
Case 1:23-cv-02938-CKK Document 7 Filed 10/31/23 Page 2 of 3
Case 1:23-cv-02938-CKK Document 7 Filed 10/31/23 Page 3 of 3
